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       Hong Liu
  10
                         UNITED STATES DISTRICT COURT FOR
  11
                        THE CENTRAL DISTRICT OF CALIFORNIA
  12
                                     WESTERN DIVISION
  13

  14
                                              Case No: 2:20-cv-08035-SVW-JPR
  15
                                              PLAINTIFF HONG LIU’S
  16                                          EX PARTE APPLICATION
                                              FOR CLARIFICATION OF THE
  17
                                              COURT’S MAY 3, 2021 ORDER AND
  18                                          RELATED RELIEF
  19
                                              Complaint filed on: January 3, 2020
  20

  21
                                              Second Amended Counterclaim filed on:
                                              March 11, 2021
  22
                                              Judge: Hon. Stephen V. Wilson
  23                                          Magistrate Judge: Honorable Jean P.
  24                                          Rosenbluth
  25
                                              Trial Date: June 8, 2021

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       HONG LIU,
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   2               Plaintiff,

   3                      v.
   4   FARADAY&FUTURE INC.,
   5
       SMART KING LTD., JIAWEI
       WANG, and CHAOYING DENG
   6
                   Defendants.
   7

   8
       FARADAY&FUTURE INC.,
   9
                   Counterclaimant,
  10
                          v.
  11   HONG LIU,
  12
                   Counter-Defendant.
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                                      EX PARTE APPLICATION
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   1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD: PLEASE TAKE
   2   NOTICE THAT Plaintiff Hong Liu (“Plaintiff” or “Mr. Liu”), by his undersigned
   3   counsel, will and hereby does apply ex parte (the “Application”) for clarificiation of the
   4   the Court’s May 3, 2021 Order (ECF 146) and compels defendants Faraday&Future
   5   Inc., Smart King Ltd., Jiawei Wang, and Chaoying Deng (collectively, “Defendants”)
   6   to immediately produce any and all documents which Defendants continue to withhold
   7   but are required to be produced under the Court’s orders dated April 26, 2021 (ECF
   8   128) and May 3, 2021 and for in camera review of documents listed on Defendants’
   9   privilege log.
  10         This Application is made pursuant to Rule 37 of the Federal Rules of Civil
  11   Procedure and Local Rule 7-19 and is based on this Notice, the accompanying
  12   Memorandum of Points and Authorities, the Declaration of Amiad Kushner and the
  13   exhibits attached thereto, the Proposed Order, the pleadings and records on file herein,
  14   and upon all other arguments and evidence that may be presented to this Court.
  15

  16   Dated: May 6, 2021
  17                                                    Respectfully submitted,
  18                                                    FOUNDATION LAW GROUP LLP
  19
                                                        By:/s/ Kevin D. Hughes
  20                                                    Attorneys for Plaintiff/Counter-
                                                        Defendant Hong Liu
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2         Plaintiff Hong Liu (“Plaintiff” or “Mr. Liu)” hereby applies ex parte pursuant to
   3   Local Rules 7-19 and 79-6.2 and Rule 37 of the Federal Rules of Civil Procedure for an
   4   order (i) compelling defendants Faraday&Future Inc. (“FF”), Smart King Ltd. (“Smart
   5   King”), Jiawei Wang, and Chaoying Deng (collectively, “Defendants”) to immediately
   6   produce all documents which Defendants continue to withhold but are subject to the
   7   Court’s April 26, 2021 and May 3, 2021 Orders (ECF 128 & 146, respectively) (“April
   8   26 Order” and “May 3 Order”, respectively); and (ii) granting in camera review of the
   9   documents listed on Defendants’ privilege log. 1 Plaintiff seeks this relief for good cause
  10   and for number of reasons. 2
  11                              PRELIMINARY STATEMENT
  12         As a result of the Court’s May 3 Order, Defendants have produced only 93
  13   additional documents, a fraction of the well over 1,000 documents withheld on their
  14   privilege log alone. Despite the Court’s unambiguous Order requiring production of
  15   multiple categories of documents as a result of Defendants’ waivier of privilege,
  16   Defendants continue to improperly withhold documents, as evidenced by the fact that
  17   Defendants produced only a few dozen documents on the night of the Court’s May 5,
  18   2021 production deadline. Plaintiff seeks relief on an urgent basis given that numerous
  19   depositions are scheduled for the week of May 10 to 14 and that Plaintiff would be
  20   prejudiced if Defendants do not produce missing documents immediately.
  21

  22   1
         References to “Kushner Decl.” are to the Declaration of Amiad Kushner and the
  23
       exhibits attached thereto. Unless otherwise noted, all emphasis is added and all internal
       citations are omitted.
  24   2
         Plaintiff is proceeding ex parte given the impending discovery cut off date and the
  25   exigency created by the fact that numerous depositions are scheduled to occur next week
       and Plaintiff’s opposition to FF’s motion for summary judgement is due no later than
  26
       May 12, 2021. See U.S. Rubber Recycling, Inc. v. ECORE Intl., 2011 WL 13127557,
  27   at *2 (C.D. Cal. Oct. 5, 2011) (granting ex parte motion to compel where defendant
       failed to produce documents or failed to timely produce documents).
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   1         Pursuant to the Court’s April 26 and May 3 Orders, the Court held that privilege
   2   was waived with respect to (1) Plaintiff’s termination, (2) the negotiation and drafting
   3   of the Employment Agreement, and (3) a list of specifically enumerated categories by
   4   which Defendants allege that Plaintiff failed to provide advice or otherwise perform his
   5   employment duties. Defendants have failed to comply with the Court’s Orders in a
   6   number of material ways.
   7         First, Defendants have produced no internal communications relating to
   8   Plaintiff’s termination. It strains credulity to believe that no such documents exist.
   9   Indeed, Plaintiff produced a document indicating that Defendants prepared a “script”
  10   that was read to Plaintiff at his termination meeting on February 11, 2019. Defendants
  11   failed to produce that script or any communications relating to it.
  12         Second, Defendants have unilaterally created arbitrary and sweeping carve-outs
  13   from the Court’s May 3 Order, such that, in Defendants’ view, not all documents
  14   relating to the solicitation, negotiation, drafting, and procurement of Plaintiff’s
  15   employment agreements must be produced. As the Court is likely aware, Plaintiff
  16   concurrently negotiated and signed two employment-related agreements with
  17   Defendants before he was hired, one of which was entitled “Employment Agreement”
  18   and the other entitled “Director Compensation Agreement” (these agreements were
  19   signed on January 26, 2018, and February 2, 2018, respectively). The parties considered
  20   these two agreements to be part of a single transaction; indeed, the Director
  21   Compensation Agreement expressly incorporates the terms of the Employment
  22   Agreement. 3 Sidley Austin concurrently reviewed both agreements. Nevertheless, by
  23   their most recent Court-ordered productions, Defendants have arbitrarily redacted all
  24
       3
         See Director Compensation Agreement at ¶1 (“The vesting of the Director
  25
       Compensation is subject to the same vesting conditions as provided and agreed in the
  26   Employment Agreement between [Plaintiff] and [FF] dated January 25, 2018.”); id. at
       ¶ 3 (providing that upon an early termination of Plaintiff, any unpaid Director
  27
       Compensation should be immediately vested under the same terms as provided in the
  28   Employment Agreement).
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   1   privilege communications relating to the Director Compensation Agreement, even
   2   where Sidley Austin provided comments on that agreement and the Employment
   3   Agreement simultaneously in the same email.
   4         Third, the Court held that Defendants had waived the privilege with respect to
   5   specific areas where Defendants alleged that Plaintiff had failed to provide advice or
   6   otherwise perform his employment duties, such as Plaintiff’s alleged failure to assist FF
   7   in its funding dispute with Evergrande. As revealed during the parties’ meet and confer
   8   discussions on the evening of May 6, 2021, Defendants have arbitrarily limited their
   9   production to (i) communications on which Plaintiff is copied, and (ii) communications
  10   which, according to Defendants’ subjective and unilateral labeling, concern Plaintiff’s
  11   advice on the matter at issue. Not surprisingly, the result has been that Defendants have
  12   produced almost no documents in response to the Court’s May 3 Order.
  13         For all these reasons and as more fully explained herein, the Court should (i)
  14   clarify the scope of its Orders to the extent necessary to resolve the disputes among the
  15   parties with respect to the Orders; (ii) order Defendants to produce additional
  16   documents to the extent their production to date does not comply with the Court’s orders
  17   as clarified, and (iii) review documents withheld by Defendants in camera in order to
  18   test whether Defendants have complied with the Court’s order.
  19                                       ARGUMENT
  20         The Court has ordered Defendants to produce numerous categories of documents
  21   as a result of Defendants’ broad privilege waiver. For example, the Court ordered
  22   Defendants to produce documents as to which they conceded the attorney-client
  23   privilege was waived, including the following categories of documents: Plaintiff’s
  24   purportedly “(i) failing to lead FF to an IPO; (ii) failing to connect FF with any
  25   investment bank; (iii) failing to assist FF when its Series A investor, Evergrande,
  26   backed-out of its funding commitment; and (iv) failing to provide substantive legal
  27   advice with respect to the EVelozcity litigation, vendor concerns regarding
  28   indemnification, the recording of internal meetings, and a potential reduction in FF’s
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   1   workforce, as reflected in Liu’s communications quoted verbatim in the SACC. (SACC
   2   ¶¶ 50, 55-59, 61, 69-70.).” ECF 124 at 17-18; see April 26 Order (“The production
   3   Defendants have agreed to make (see Opp’n at 17-18, 20) must be made by no later
   4   than April 30.”). The Court also ordered the production of all withheld documents
   5   concerning Plaintiff’s purported “harassment of FF’s equity program manager and
   6   threat to fire outside counsel unless it illegally inflated his stock options.” ECF 124 at
   7   18. 4 Moreover, the Court specifically held in its April 26, 2021 hearing that “pretty
   8   much anything related to Evergrande is waived.” April 26, 2021 Tr. at 9:6; 11: 9
   9   (“Evergrande waived”).
  10         By its May 3 Order, as a result of the parties’ supplemental briefing and April 29,
  11   2021 hearing, the Court provided additional details as to the documents which
  12   Defendants had to produce as a result of their privilege waiver.          In addition to
  13   highlighting that Defendants had to have already produced the previously withheld
  14   documents concerning the purported five categories of “Enumerated Failures,”
  15   (“Defendants should have already produced on April 30 all responsive documents
  16   concerning the areas as to which they agreed the privilege was waived”) (May 6 Order
  17   at 6), the Court ordered that Defendants “have waived any attorney-client privilege
  18   concerning the solicitation, negotiation, drafting, and procurement of the
  19   Employment Agreement as well as Plaintiff’s termination.” Furthermore, the Court
  20   held that “Defendants have waived any privilege as to their communications with Sidley
  21   concerning the Employment Agreement. They have also waived the privilege as to
  22   documents and communications concerning Plaintiff’s termination, as such documents
  23   might reasonably be expected to discuss whether his firing resulted from the ethical
  24   violations about which Defendants now complain.” May Order at 4.
  25         Accordingly and taken collectively, the Court ordered production of all of the
  26   following documents:
  27   4
        Defendants have referred to these five categories of documents as Plaintiff’s purported
  28   “Enumerated Failures.” ECF 137 at 3; see also ECF 124 at 17.
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   1
                • All documents concerning the solicitation, negotiation, drafting and
                  procurement of the Employment Agreement;
   2

   3
                • All documents concerning Plaintiff’s termination;

   4            • All documents concerning the funding dispute with Evergrande;
   5
                • All documents concerning Sidley Austin’s role in connection with
   6
                  the Employment Agreement (see, e.g., Tr. April 26, 2021 Hearing
   7              at 29:6-8); and
   8
                • All documents concerning Defendants’ purported bases for
   9              terminating Plaintiff including his purportedly (i) failing to lead FF
                  to an IPO; (ii) failing to connect FF with any investment bank; (iii)
  10
                  failing to assist FF when its Series A investor, Evergrande, backed-
  11              out of its funding commitment; (iv) failing to provide substantive
                  legal advice with respect to the EVelozcity litigation, vendor
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                  concerns regarding indemnification, the recording of internal
  13              meetings, and a potential reduction in FF’s workforce; and (v)
                  Plaintiff’s purported harassment of FF’s equity program manager
  14
                  and threat to fire outside counsel unless it illegally inflated his stock
  15              options.
  16         As set forth below, Defendants’ productions following the Court’s April 26 and
  17   May 3 Orders are woefully defective, as Defendants continue to withhold relevant
  18   documents in contempt of the Court’s orders. Indeed and by way of comparison, over
  19   the course of this litigation, Plaintiff has produced 1583 documents across 8287 pages.
  20   Defendants, the corporate custodians in this action, have produced only 627 documents
  21   across 5262 pages; their total production pursuant to the Court’s April 26 and May 3
  22   Orders consisted of merely 92 documents across 624 pages. There is no legitimate
  23   basis why Plaintiff’s production should dwarf Defendants’. Kushner Decl. ¶ 3.
  24         During a meet and confer with Defendants on May 6, 2021 concerning
  25   Defendants’ April 30th and May 5th production of documents, Defendants admitted that
  26   they were taking an intentionally narrow view of the Court’s Orders compelling
  27   production.    Kushner Decl. ¶ 28.          Specifically, Defendants conceded that,
  28   notwithstanding the Court’s broad language ordering production, they would not
                                                  -6-
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   1   produce any documents unless Plaintiff was a sender or receiver of an email which
   2   contained (according to Defendants’ unilateral and subjective interpretation) legal
   3   advice.   Kushner Decl. ¶ 28. By interpreting the Orders in this artificially narrow
   4   manner, Defendants have undoubtedly omitted documents that provide critical context
   5   which would enable Plaintiff to defend against Defendants’ allegations, including the
   6   context in which Plaintiff provide or received legal advice.
   7         The following examples demonstrate Defendants’ misapplication of the Court’s
   8   Orders, causing Plaintiff to be denied the relevant discovery to which he is entitled.
   9         Evergrande Documents
  10         The Court by its April 26 and May 3 Orders ordered Defendants to produced all
  11   documents concerning the Evergrande funding dispute. See April 26, 2021 Tr. at 9:6;
  12   May 6 Order. Defendants in their own right have conceded that they had waived all
  13   documents concerning Evergrande’s backing out of its funding commitment to FF.
  14         However, Defendants have failed to comply with the Court’s orders, producing
  15   a mere fraction of the documents. The relevant time period by which Evergrande
  16   backed out of its funding commitments to FF was August 31, 2018 through December
  17   31, 2018. In Defendants’ privilege log, Defendants have referenced Evergrande no less
  18   than 638 times. Of those 638 entries, 571 of them are dated from within this relevant
  19   time period. And yet by their productions from April 30 and May 5, Defendants have
  20   produced less than sixty documents concerning Evergrande; Defendants have produced
  21   roughly only ten percent of all the documents on Defendants’ privilege log relating to
  22   Evergrande during the relevant time period.
  23         The remainder of these documents must be produced, and Defendants’ privilege
  24   log should be subject to in camera review.
  25         Termination
  26         To date, Defendants have produced zero documents concerning Plaintiff’s
  27   termination. Indeed, nothwithstanding the Court’s April 26 and May 3 Orders,
  28   Defendants have failed to produce a single internal document as to the circumstances
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 1   or reasons for why Plaintiff was terminated. Defendants have no excuse for this. These
 2   documents must be produced.
 3         Employment Agreement Documents
 4         As to documents relating to Plaintiff’s employment, which the Court
 5   unambiguously ordered to be produced (as to both the negotiation, drafting, and
 6   solicitation of the Employment Agreement and Sidley Austin’s role in the negotiations
 7   with Plaintiff), Plaintiff has reason to believe that documents are being withheld.
 8   Plaintiff has produced a picture taken by Plaintiff of a laptop at Defendants termination
 9   meeting which states that Bob Ye of Faraday “gave pre-written message.” Ex. __.
10   However, this “pre-written message” as well as any communications relating to this
11   statement have not been produced by Defendants.
12         Documents Concerning Plaintiff’s Purported “Enumerated Failures”
13         Pursuant to the Court’s April 26 Order, Defendants were ordered to produce all
14   documents concerning the five categories of purported “Enumerated Failures” which
15   Defendants are using as a basis to support their counterclaims and as affirmative
16   defenses.
17         Defendants have conceded that they have waived all privileges related to
18   Plaintiff’s purported failure to “provide substantive legal advice with respect to . . . a
19   potential reduction in FF’s workforce.” See ECF 124 at 17-18. Furing October 2018,
20   Plaintiff, having learned that FF would be laying off a substantial number of its
21   employees and wanting to ensure that FF complied with its federal and state
22   employment-law related obligations, ordered multiple legal memoranda to be drafted
23   reflecting FF’s reduction in labor and its duty to comply with the Worker Adjustment
24   and Retraining Notification Act of 1988 (“WARN Act”). However, Defendant’s April
25   30 and May 5 production do not contain a single one of these memoranda. Notably
26   Defendant’s privilege log contains seventeen documents mentioning the WARN Act
27   (Ex. 5), while only nine documents produced by Defendants on April 30, 2021 and May
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 1   5, 2021 contain any mention of the WARN Act. These remaining document need to be
 2   produced or, at minimum, reviewed in camera.
 3                           LOCAL RULE 7-19.1 STATEMENT
 4         Pursuant to Local Rule 7-19.1, Plaintiff’s counsel contacted Defendants’ counsel
 5   by phone on May 6, 2021 and advised them of Plaintiff’s intent to file this Application
 6   and this Application’s substance. Plaintiff’s counsel informed counsel for Defendants
 7   of the 4:00 p.m. deadline on the next business day following service to file an
 8   opposition. Plaintiff’s counsel also inquired if counsel for Defendants intended to
 9   oppose the Application; Defendants intend to oppose this Application.
                                     CONCLUSION
10
           For all of these reasons and as more fully explained herein, the Court should (1)
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     clarify the scope of its orders to the extent necessary to resolve the disputes among the
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     parties with respect to the scope of such orders, (2) order Defendants to produce
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     additional documents to the extent their production to date does not comply with the
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     Court’s orders as clarified by the Court, and (3) review a sample of documents withheld
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     by Defendants in camera in order to determine whether Defendants have complied with
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     the Court’s orders.
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     DATED: May 6, 2021
                                           FOUNDATION LAW GROUP LLP
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23
                                           By:/s/ Kevin D. Hughes
                                                KEVIN D. HUGHES
24                                              Counsel for Plaintiff/Counter-
25
                                                Defendant Hong Liu

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 1
                                     SEIDEN LAW GROUP LLP
 2

 3
                                     By: /s/ Amiad Kushner
 4                                        AMIAD KUSHNER
 5
                                          Counsel for Plaintiff/Counter-
                                          Defendant Hong Liu
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 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on this day I caused a true and correct copy of the foregoing
 3   to be filed using the Court’s Electronic Filing System (“ECF System”). The document
 4   is available for viewing and downloading via the ECF System and will be served by
 5   operation of the ECF System upon all counsel of record.
 6

 7   Dated: May 6, 2021                                  /s/ Kevin D. Hughes
 8                                                           Kevin D. Hughes
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